Case 1:24-cv-11323-LTS Document 1-1 Filed 05/20/24 Page 1 of 27




 EXHIBIT A
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 2 of 27
Superior Court - PlyMouth '
Docket Number
                                                                                   a



                                     COMMONWEALTH OF MASSACHUSETTS

              Plymouth, ss.                                        DEPARTMENT OF THE TRIAL COURT
                                                                       PLYMOUTH SUPERIOR COURT

              ONSET FIRE DISTRICT WATER
              DEPARTMENT,

                     Plaintiff,

              VS.


              AGC CHEMICAL AMERICAS,INC.;
              AGC INC. F/K/A ASAHI GLASS CO.;
              ARCHROMA U.S., INC.; ARKEMA INC.;
              BASF CORPORATION;BUCKEYE FIRE
              EQUIPMENT COMPANY;CARRIER
              GLOBAL CORPORATION; CHEMDESIGN
              PRODUCTS,INC.; CHEMGUARD,INC.;
              CHEMICALS INCORPORATED; CHUBB
              FIRE, LTD.; CLAMANT CORPORATION;
              DEEP WATER CHEMICALS,INC.; DOE
              DEFENDANTS,JOHN 1-49; DYNAX
              CORPORATION;KIDDE PLC,INC.;
              NATIONAL FOAM,INC.; NATION FORD
              CHEMICAL COMPANY;RAYTHEON
              TECHNOLOGIES CORPORATION F/K/A
              UNITED TECHNOLOGIES
              CORPORATION; TYCO FIRE PRODUCTS,
              LP; AND UTC FIRE & SECURITY
              AMERICAS CORPORATION,

                     Defendants.


                                                       COMPLAINT

                     Plaintiff Onset Fire District Water Department ("Plaintiff"), by and through its

              undersigned counsel, brings this action against Defendants AGC Chemical Americas, Inc.,

              AGC,Inc. f/k/a Asahi Glass Co., Archroma U.S., Inc., Arkema Inc., BASF Corporation,

             Buckeye Fire Equipment Company, Carrier Global Corporation, ChemDesign Products, Inc.,

             Chemguard, Inc., Chemicals Incorporated, Chubb Fire, LTD., Clariant Corporation, Deepwater

             Chemicals, Inc., John Doe Defendants 1-49, Dynax Corporation, Kidde PLC,Inc., National
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 3 of 27
Superior Court - PlyMouth
Docket Number




              Foam Inc., Nation Ford Chemical Company, Raytheon Technologies Corporation f/k/a United

              Technologies Corporation, Tyco Fire Products, LP, and UTC Fire & Security Americas

              Corporation (collectively,"Defendants"). Plaintiff, based on information, belief and

              investigation of Counsel, alleges as follows:

                                            I.      SUMMARY OF THE CASE

                      1.    Plaintiff brings this action against Defendants to recover the considerable costs and

             damages that it has incurred and will inevitably continue to incur—as a result of the presence of

             toxic compounds, identified as per- and polyfluoroalkyl substances("PFAS"), on Plaintiff's real

             property and in Plaintiff's drinking water sources.

                     2.     Plaintiff owns and operates a public water system that provides potable water to its

             customers. Plaintiff draws raw water from five groundwater wells. Plaintiff's property, wells,

             water sources and supply, water supply and delivery system infrastructure, including any treatment

             systems, are collectively referred to as "Plaintiff's Property" in this Complaint.

                     3.     Plaintiff has detected PFAS compounds in its water supplies. PFAS is a family of

             compounds including perfluorooctanoic acid ("PFOA")and/or perfluorooctane sulfonate

            ("PFOS"), chemicals that have long been manufactured as components for aqueous film-forming

             foam ("AFFF")—a product used to control and extinguish aviation, marine,fuel, and other shallow

             spill fires.

                     4.     PFOA and PFOS both are known to be toxic, persistent in the environment, and

             resistant to biodegradation. These compounds move easily through soil and groundwater and pose

             a significant risk to environmental and human health and safety. Both are animal carcinogens and

             likely human carcinogens. Indeed, the United States Environmental Protection Agency("EPA")

             has stated that "human epidemiology data report associations between PFOA exposure and high

             cholesterol, increased liver enzymes, decreased vaccination response, thyroid disorders, pregnancy-
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                            Document 1-1 Filed 05/20/24 Page 4 of 27
Superior Court - PlyMouth '
Docket Number




             induced hypertension and preeclampsia, and cancer (testicular and kidney)" and that "there is

             suggestive evidence of carcinogenic potential for PFOS."

                     5.      Upon information and belief, at various times throughout the 1960s to present date,

             Defendants designed, manufactured, marketed, distributed, and/or sold PFOA,PFOS,the chemical

             precursors ofPFOA and/or PFOS,and/or AFFF containing PFOA,PFOS,and/or their chemical

             precursors (collectively, "Fluorosurfactant Products") throughout the United States, including in

             Massachusetts.

                    6.       At all relevant times, upon information and belief, Defendants knew, or reasonably

             should have known, about the inherent risks and dangers involved in the use ofPFAS compounds

             in their products—including that both PFOA and PFOS are mobile in water, not easily

             biodegradable, highly persistent in the environment, and present significant and unreasonable risks

             to both human health and the environment. Nevertheless, Defendants made a conscious choice to

             manufacture, market, sale, and otherwise place Fluorosurfactant Products into the U.S. stream of

             commerce for decades, all while knowing PFAS compounds would be inevitably released into the

             environment—for instance, in the use of AFFF for fire protection, training, and response activities,

             even when used in the manners directed and intended by the manufacturer—and concealing their

             knowledge of the risks involved.

                    7.       At all relevant times, Plaintiff did not know, nor should it have reasonably known,

             of the ongoing contamination of its Property through the use of Defendants' Fluorosurfactant




            'See EPA,Health Effects Support Documentfor Perfluorooctane Sulfonate (PFOS), Document No. 822-R-16-002,
            available at https://www.epa.govisites/default/files/2016-05/documents/pfos hesd final 508.pdf(last accessed May 8,
            2023); see also EPA,Drinking Water Health Advisoryfor Periluorooctanoic Acid(PFOA), EPA Document Number:
            822-R-16-005(May 2016)at 16, available at httos://nepis.epa.gov/Exe/ZvPURL.cgi?Dockev=P1000M40.txt (last
            accessed May 8, 2023).
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 5 of 27
Superior Court - Plyenouth
Docket Number




             Products, as Defendants did not disclose the toxic nature and harmful effects of their

             Fluorosurfactant Products.

                    8.      As a result of Defendants' unreasonable acts and omissions, PFAS compounds

             entered critical sources of water relied upon by Plaintiff to provide for its residents and employees,

             and have contaminated Plaintiffs Property—thereby subjecting Plaintiff's customers and the

             general public to the inherent danger ofthese chemicals. As the manufacturers and sellers of

             Fluorosurfactant Products, Defendants are responsible for the PFAS contaminants released into

            Plaintiffs Property.

                    9.      Through this action, Plaintiff now seeks to recover all available damages arising

            from the continuous and ongoing contamination of Plaintiff's Property caused by Defendants'

             actions as asserted herein. Such damages include, but are not limited to, the past and future

             incurred costs associated with the investigation, remediation, restoration, monitoring, and treatment

             of Plaintiff's Property.

                                                      II.     PARTIES
             A.     PLAINTIFFS

                     10.    Plaintiff Onset Fire District Water Department is located at 15 Sand Pond Road,

             Onset, Massachusetts, 02558. Plaintiff operates its public water supply system pursuant to the Safe

             Drinking Water Act, 42 U.S.C. § 30000(15), and the reporting system of the U.S. EPA. Its PWS

             ID is 4310003.

                     1 1.   Plaintiff has detected PFAS in at least one of its water sources.

             B.     DEFENDANTS

                     12.    Upon information and belief, the following Defendants designed, manufactured,

            formulated, marketed, promoted, distributed, and/or sold the Fluorosurfactant Products that have

             contaminated and continue to contaminate Plaintiffs Property, causing irreparable harm.
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 6 of 27
Superior Court - Plytnouth '
Docket Number




                    13.     AGC AMERICA: Defendant AGC Chemical Americas, Inc.("AGC America") is a

             Delaware corporation with its principal business office at 55 E. Uwchlan Avenue, Suite 201,

             Exton, Pennsylvania 19341. Upon information and belief, AGC America is a subsidiary of AGC,

             Inc., a Japanese corporation formerly known as Asahi Glass Company, Ltd.

                    14.     AGC: Defendant AGC,Inc. f/k/a Asahi Glass Co., Ltd.("AGC"), is a corporation

             organized under the laws of Japan and does business throughout the United States. AGC has its

             principal place of business at 1-5-1, Marunouchi, Chiyoda-ku, Tokyo 100-8405 Japan..

                    15.     ARCHROMA U.S.: Defendant Archroma U.S., Inc.("Archroma US") is a

             Delaware corporation with its principal place of business located at 5435 77 Center Dr., #10,

             Charlotte, North Carolina 28217. Upon information and belief, Archroma U.S., Inc. is a subsidiary

             of Archroma Management, LLC, and supplied Fluorosurfactant Products for use in AFFF.

                    16.     ARICEMA: Defendant Arkema,Inc. is a corporation organized and existing under

             the laws of the State of Pennsylvania, with its principal place of business at 900 1st Avenue, King

             of Prussia, Pennsylvania 19406. Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                    17.     BASF: Defendant BASF Corporation("BASF") is a Delaware corporation with its

             principal place of business at 100 Park Avenue, Florham Park, New Jersey 07932. Upon

             information and belief, BASF acquired Ciba-Geigy Corporation and/or Ciba Specialty Chemicals.

                    18.     BUCKEYE: Defendant Buckeye Fire Equipment Company ("Buckeye") is a

            foreign corporation organized and existing under the laws of the State of Ohio, with its principal

             place of business at 110 Kings Road, Mountain, North Carolina 28086. This Defendant

             manufactured and sold AFFF that contained PFOA.

                    19.     CARRIER: Defendant Carrier Global Corporation ("Carrier") is a Delaware

            corporation with its principal place of business located at 13995 Pasteur Boulevard; Palm Beach

             Gardens, Florida 33418.
Date Filed 3/29/2024 1:38 PMCase 1:24-cv-11323-LTS   Document 1-1 Filed 05/20/24 Page 7 of 27
Superior Court - Plyfriouth '
Docket Number




                    20.     CHEMDESIGN: Defendant Chemdesign Products, Inc.("ChemDesign") is a

             Texas corporation with its principal place of business located at 2 Stanton Street, Marinette,

             Wisconsin 54143.

                    21.     CHEMGUARD: Defendant Chemguard, Inc.("Chemguard") is a corporation

             organized and existing under the laws of the State of Wisconsin, with its principal place of business

             located at One Stanton Street, Marinette, Wisconsin 54143. This Defendant manufactured and sold

             AFFF that contained PFOA.

                    22.     CHEM INC.: Defendant Chemicals Incorporated ("Chem Inc.") is a Texas

             corporation with its principal place of business located at 12321 Hatcherville Road, Baytown,

             Texas 77521.

                    23.     CHUBB: Defendant Chubb Fire, Ltd.("Chubb") is a foreign private limited

             company, with offices at Littleton Road, Ashford, Middlesex, United Kingdom TW15 1TZ. Upon

             information and belief, Chubb is registered in the United Kingdom with a registered number of

             134210. Upon information and belief, Chubb is or has been composed of different subsidiaries

             and/or divisions, including but not limited to Chubb Fire & Security Ltd:,Chubb Security, P.L.C.,

             Red Hawk Fire & Security, LLC, and/or Chubb National Foam,Inc. Chubb is part of UTC

             Climate, Controls & Security, a unit of United Technologies Corporation.

                    24.     CLARIANT: Defendant Clariant Corporation ("Clariant") is a New York

             corporation with its principal place of business located at 4000 Monroe Road, Charlotte, North

             Carolina 28205.

                    25.     DEEPWATER: Defendant Deepwater Chemicals, Inc.("Deepwater") is a

             Delaware corporation with its principal place of business located at 196122 E County Road 40,

             Woodward, Oklahoma 73801.
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 8 of 27
Superior Court - PlyMouth '
Docket Number




                     26.   DYNAX: Defendant Dynax Corporation ("Dynax") is a Delaware corporation with

             its principal place of business located at 103 Fairview Park Drive, Elmsford, New York 10523.

             Upon information and belief, this Defendant manufactured Fluorosurfactant Products for use in

             AFFF.

                     27.    KIDDE PLC: Defendant Kidde P.L.C., Inc.("Kidde P.L.C.") is a Delaware

            corporation with its principal place of business located at 9 Farm Springs Road,Farmington,

             Connecticut 06032. Upon information and belief, Kidde PLC was formerly known as Williams

             Holdings, Inc. and/or Williams US,Inc.

                     28.    NATIONAL FOAM: Defendant National Foam,Inc.("National Foam")is a

            corporation organized under the laws of the State of Delaware, with its principal place of business

             located at 141 Junny Road, Angier, North Carolina 27501. National Foam manufactures the Angus

            Fire brand of products and is the successor-in-interest to Angus Fire Armour Corporation

            (collectively,"National Foam/Angus Fire"). This Defendant manufactured and sold AFFF that

            contained PFOA.

                     29.    NATION FORD: Defendant Nation Ford Chemical Company ("Nation Ford") is a

             South Carolina corporation with its headquarters located at 2300 Banks Street, Fort Mill, South

             Carolina 29715.

                     30.    RAYTHEON TECHNOLOGIES CORP.: Defendant Raytheon Technologies

             Corporation (f/k/a United Technologies Corporation)("Raytheon Tech f/k/a United Tech") is a

            Delaware corporation with its principal place of business at 10 Farm Springs Road, Farmington,

            Connecticut 06032.

                     31.    TYCO: Defendant Tyco Fire Products L.P.("Tyco") is a limited partnership

             organized and existing under the laws ofthe State of Delaware with its principal place of business

             located at 1400 Pennbrook Parkway, Lansdale, Pennsylvania 19446.
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 9 of 27
Superior Court - PlyMouth '
Docket Number




                    32.       Tyco is an indirect subsidiary that is wholly owned by Johnson Controls

             International P.L.C., an Irish public limited company listed on the New York Stock Exchange

                    33.       Tyco manufactures the Ansul brand of products and is the successor-in-interest to

             the corporation formerly known as The Ansul Company ("Ansul")(hereinafter, Ansul and/or Tyco

             as the successor-in-interest to Ansul will be referred to collectively as "Tyco"). At all times

             relevant, Tyco manufactured, marketed, promoted, distributed, and/or sold fire suppression

             products, including AFFF that contained fluorocarbon surfactants containing PFAS.

                    34.       UTC: Defendant UTC Fire & Security Americas Corporation, Inc.(Vida GE

            Interlogix, Inc.)("UTC")is a North Carolina corporation with its principal place of business at

             3211 Progress Drive, Lincolnton, North Carolina 28092. UTC was a subsidiary of United

             Technologies Corporation.

                    35.       Upon information and belief, Defendant John Does 1-49 were manufacturers and/or

             sellers of AFFF products. Although the identities of the John Doe Defendants are currently

             unknown, it is expected that their names will be ascertained during discovery, at which time the

            Plaintiff will move for leave of this Court to add those individuals' actual names to the Complaint

             as Defendants.

                    36.       All of the foregoing Defendants, upon information and belief, have previously

            conducted and/or currently conduct their business throughout the United States. Moreover, some of

             the foregoing Defendants, if not all, have conducted and/or are currently conducting business in the

            state of Massachusetts.

                    37.     Any and all references to a Defendant or Defendants in this Complaint include any

             predecessors, successors, parents, subsidiaries, affiliates and divisions of the named Defendants.

                    38.     The term "Defendants," without naming any specific one, refers to all Defendants

            named in this Complaint jointly and severally. When reference is made to any act or omission of
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                       Document 1-1 Filed 05/20/24 Page 10 of 27
Superior Court - Plyinouth '
Docket Number




             the Defendants, it shall be deemed to mean that the officers, directors, agents, employees, or

             representatives of the Defendants committed or authorized such act or omission, or failed to

             adequately supervise or properly control or direct their employees while engaged in the

             management, direction, operation or control of the affairs of Defendants, and did so while acting

             within the scope of their employment or agency.


                                            III.    JURISDICTION & VENUE

                    39.     This Court has jurisdiction pursuant to M.G.A.212 § 3 because this is a civil action

            for damages in an amount that exceeds the minimal jurisdictional limits of this Court.

                    40.     Venue is appropriate in this county because it is the county in which Plaintiff is

             located and has its usual place of business.

                                            IV.    FACTUAL ALLEGATIONS

             A.     THE PEAS CONTAMINANTS ATISSUE:PFOA AND PFOS


                    41.     Both PFOA and PFOS fall within a class of chemical compounds known as

             perfluoroallcyl acids("PFAAs"). PFAAs are then part of a larger chemical family recognized as

             per- and polyfluoroalkyl substances("PFAS"). PFAA is composed of a chain of carbon atoms in

             which all but one of the carbon atoms are bonded to fluorine atoms, meanwhile the last carbon

             atom is attached to a functional group. The carbon-fluorine bond is one of the strongest chemical

             bonds that occur in nature.

                    42.     PFAAs are sometimes described as long-chain and short-chain compounds,

             depending on the number of carbon atoms contained in the carbon chain. PFOA and PFOS are

             considered long-chain PFAAs because they each have eight carbon atoms in their chains.

                    43.     PFOA and PFOS are stable, man-made chemicals. They are highly water soluble,

             persistent in the environment and resistant to biologic, environmental, or photochemical
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                            Document 1-1 Filed 05/20/24 Page 11 of 27
Superior Court - Plymouth '
Docket Number




             degradation. Because these compounds are water soluble and do not readily adsorb to sediments or

            soil, they tend to stay in the water column and can be transported long distances.

                           44.   Both PFOA and PFOS are readily absorbed in animal and human tissues after oral

             exposure and accumulate in the serum, kidney, and liver. They have been found globally in

             water, soil and air as well as in human food supplies, breast milk, umbilical cord blood, and

             human blood serum.2

                           45.   Moreover,PFOA and PFOS are persistent in the human body and resistant to

             metabolic degradation. A short-term exposure can result in a body burden that persists for years

             and can increase with additional exposures.3

                           46.   Notably, from the time these two compounds were first produced, information has

            since emerged showing negative health effects caused by exposure to PFOA and PFOS. According

            to the EPA,"studies indicate that exposure ofPFOA and PFOS over certain levels may result

             in...developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low birth

             weight, accelerated puberty, skeletal variations), cancer (e.g., testicular, kidney), liver effects (e.g.,

            tissue damage), immune effects (e.g., antibody production and immunity), thyroid effects and other

             effects (e.g., cholesterol changes).4 The EPA has warned that there is suggestive evidence of the

            carcinogenic potential for PFOA and PFOS in humans.'




            2 See note 1, supra.

             3   See id.

            " See EPA,Fact Sheet PFOA & PFOS Drinking Water Health Advisories, EPA Document Number: 800-F-16-003,
             available at available at https://nepis.epa.gov/Exe/ZyPURL.cgi?Dockey=P1000R9W.txt(last accessed May 8, 2023).

            5 See EPA,Health Effects Support Documentfor Perfluorooctane Sulfonate (PFOS), Document Number: 822 R-16-
            002, available at https://www.epa.govisites/default/files/2016-05/documents/pfos_hesd_final_508.pdf(last accessed
            May 8, 2023).
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 12 of 27
Superior Court - Ply'mouth  •
Docket Number




                     47.       Additionally, the EPA has noted that "drinking water can be an additional source

            [of PFOA/PFOS in the body] in the small percentage of communities where these chemicals have

             contaminated water supplies." In communities with contaminated water supplies,"such

             contamination is typically localized and associated with a specific facility, for example [...] an

             airfield at which [PFOA/PFOS] were used for firefighting."6

                     48.      EPA continues to research the effects of PFAS. In June 2022, after evaluating over

             400 studies published since 2016 and applying human health risk assessment approaches, tools, and

             models EPA concluded that the new data indicates that the levels of PFOA and/or PFOS exposure

             at which negative outcomes could occur are much lower than previously understood when the

             agency issued its 2016 HAs for PFOA and PFOS(70 parts per trillion or ppt). EPA announced

             new Interim Updates Health Advisory levels of 0.004 ppt for PFOA and 0.02 ppt for PFOS.7


             B.      AQUEOUS FILM-FORMING FOAM(AFFF) WAS A PRODUCT CONTAINING PFOS AND/OR PFOA
                     A T THE RELEVANT TIME PERIOD


                     49.      Aqueous Film-Forming Foam ("AFFF")is a water-based foam that was first

             developed in the 1960s to extinguish flammable liquid fuel fires at airports, among other places.

                     50.      Generally, AFFF is used to extinguish fires, particularly fires that involve petroleum

             or other flammable liquids. AFFF is typically sprayed directly onto a fire, where it then works by

             coating the ignited fuel source, preventing its contact with oxygen, and suppressing combustion.

                     51.      The AFFF products made by Defendants during the relevant time period contained

             either or both PFOA and PFOS. AFFF produced, marketed, and/or sold by 3M was the only AFFF

             produced from fluorochemicals manufactured through electrochemical fluorination ("ECF"), a



             6 See note 4,supra.


              EPA, Technical Fact Sheet: Drinking Water Health Advisoriesfor Four PFAS(PFOA, PFOS, GenX chemicals, and
             PFBS), EPA Document Number 822-F-22-002, available at
             https://nenis.epa.gov/Exe/ZyPURL.cgi?Dockey=P10154ST.txt (last accessed May 8, 2023).
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 13 of 27
Superior Court - Plyrnouth '
Docket Number




             process that generates PFOS. PFHxS is also formed during this process. All other Defendants

             used telomerization to produce AFFF. Fluorochemicals synthesized through telomerization degrade

             into PFOA, but not PFOS.

                    52.     When used as the Defendants intended and directed, the AFFF manufactured and/or

             sold by the Defendants released PFOA and/or PFOS into the environment.

                    53.     Once PFOA and PFOS are free in the environment, they do not hydrolyze,

             photolyze, or biodegrade under typical environmental conditions, and they are extremely persistent

             in the environment. As a result of their persistence, they are widely distributed throughout soil, air,

             and groundwater.

                    54.     Notably, AFFF can be made without PFOA and PFOS. As such, fluorine-free foams

             do not release PFOA and/or PFOS into the environment.

                    55.     Despite having knowledge of this fact—as well as having knowledge regarding the

             toxic nature of AFFF made with PFOA and/or PFOS—Defendants continued to manufacture,

             distribute and/or sell AFFF with PFOA and/or PFOS, which has ultimately led to the ongoing

             contamination and damages to Plaintiffs Property.

                    56.     Defendants' Fluorosurfactant Products have been used for their intended purposes in

             the process of fire protection, training, and response activities within Massachusetts for many

             years. During these activities, Defendants' Fluorosurfactant Products were used as directed and

             intended by the manufacturer, which allowed PFOA and PFOS to migrate through the subsurface

             and into the groundwater, enter into Plaintiffs property, thereby contaminating Plaintiffs Property.

                    57.     Due to the chemicals' persistent nature, among other things, these chemicals have

             caused, and continue to cause, significant injury and damage to Plaintiff and Plaintiffs Property.
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                            Document 1-1 Filed 05/20/24 Page 14 of 27
Superior Court- PIVmouth .
Docket Number




             C.     DEFENDANTS'KNOWLEDGE AND CONCEALMENT OF THE DANGERSIN

                    58.      On information and belief, by the 1970s, Defendants knew, or reasonably should

             have known, among other things, that:(1)PFOA and PFOS are toxic; and (2) when sprayed in the

            open environment per the instructions given by the manufacturer, PFOA and PFOS migrate

            through the subsurface, mix easily with groundwater, resist natural degradation, render drinking

             water unsafe and/or non-potable, and can be removed from public drinking water supplies only at

            substantial expense.

                    59.      At all times pertinent herein, Defendants also knew or should have known that

            PFOA and PFOS present a risk to human health and could be absorbed into the lungs and

            gastrointestinal tract, potentially causing severe damage to the liver, kidneys, and central nervous

            system, in addition to other toxic effects, and that PFOA and PFOS are known carcinogens that

            cause genetic damage.

                    60.      For instance, in 1980, 3M published data in peer reviewed literature showing that

             humans retain PFOS in their bodies for years. Based on that data, 3M estimated that it could take a

            person up to 1.5 years to clear just half of the accumulated PFOS from their body after all

            exposures had ceased.8

                    61.      By the early 1980s, the industry suspected a correlation between PFOS exposure

            and human health effects. Specifically, manufacturers observed bioaccumulation ofPFOS in

             workers' bodies and birth defects in children of workers.

                    62.      In 1981, DuPont tested for and found PFOA in the blood offemale plant workers in

            Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed



            8 See Office of Minnesota Attorney General, Exhibit List, No. 1588, Letter from 3M to Office of Pollution Prevention
            and Toxics, EPA titled "TSCA 8e Supplemental Submission, Docket Nos. 8EHQ-0373/0374 New Data on Half Life of
            Perfluorochem icals in Serum," available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1588.pdf(last
            accessed May 8, 2023).
                           Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                             Document 1-1 Filed 05/20/24 Page 15 of 27
Superior Court - Pljernouth '
Docket Number




             workers, finding two of seven children born to female plant workers between 1979 and 1981 had

             birth defects—one an "unconfirmed" eye and tear duct defect, and one a nostril and eye defect.9

                     63.      Beginning in 1983, 3M documented a trend of increasing levels of PFOS in the

             bodies of3M workers. In an internal memo,3M's medical officer warned:"[W]e must view this

             present trend with serious concern. It is certainly possible that [...] exposure opportunities are

             providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the body.)510

                     64.      Based on information and belief, in 2000, under pressure from the EPA,3M

             announced that it was phasing out PFOS and U.S. production ofPFOS; 3M's PFOS-based AFFF

             production did not fully phase out until 2002.

                     65.      After 3M exited the AFFF market in the United States, the remaining AFFF

             manufacturer Defendants continued to manufacture and sell AFFF containing PFOA and/or its

             chemical precursors.

                     66.      From 1951, Old DuPont, and on information and belief, Chemours, designed,

             manufactured, marketed, and sold Fluorosurfactant Products, including Teflon nonstick cookware,

             and more recently PFAS feedstocks, such as Forafac 1157 N,for the use in the manufacture of

             AFFF products.

                     67.      Based on information and belief, by no later than 2001, Old DuPont manufactured,

             produced, marketed, and sold Fluorosurfactant Products and/or PFAS feedstocks containing or




             9 See DuPont, C-8 Blood Sampling Results, available at
             https://static.ewg.org/files/PFOA 013.pdf? g1=1*anldwl* ga*NTgxNzgzMTc3LiE2ODI2ODk5ODk.* ga CS21GC4
             9KT*MTY4MzU4Nzg20C4yLjEuMTY4MzU4Nzk0MC4wLjAuMA..& ga=2.26293428.885409355.1683587869-
             581783177.1682689989 (last accessed May 8, 2023).

             I° See 3M,Internal Memorandum, Organic Fluorine Levels,(August 31, 1984), available at
             httos://static.ewg.org/files/226-
             0483.pdf? g1=1*1u237yp* ga*NTgxNzgzMTc3LjE2ODI2ODk5ODk.* ga CS21GC49KT*MTY4MzU4Nzg20C4y
             LiEuMTY4MzU4Nzk0MC4wLjAuMA..& ga=2.39402538.885409355.1683587869-581783177.1682689989 (last
             accessed May 8, 2023).
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                              Document 1-1 Filed 05/20/24 Page 16 of 27
Superior Court - Plymouth •
Docket Number




             degrading into PFOA to some or all of the AFFF product manufacturers for use in their AFFF

             products that were discharged into the environment and contaminated Plaintiff's Property.

                     68.      Old DuPont had been studying the potential toxicity ofPFOA since at least the

             1960s and knew that it was contaminating drinking water drawn from the Ohio River and did not

             disclose to the public or to government regulators what they knew about the substance's potential

             effects on humans, animals, or the environment.'

                     69.      By December 2005, the EPA uncovered evidence that Old DuPont concealed the

             environmental and health effects of PFOA,and the EPA announced the "Largest Environmental

             Administrative Penalty in Agency History." The EPA fined Old DuPont $16,500,000 for violating

             the Toxic Substances Control Act "Section 8(e)—the requirement that companies report to the EPA

            substantial risk information about chemicals they manufacture, process or distribute in

             commerce."I2

                     70.      By July 2011, Old DuPont could no longer credibly dispute the human toxicity of

            PFOA, which it continued to manufacture. The "C8 Science Panel" created as part of the settlement

            of a class action over Old DuPont's releases from the Washington Works plant had reviewed the

             available scientific evidence and notified Old DuPont of a "probable link"I3 between PFOA

             exposure and the serious(and potentially fatal) conditions of pregnancy-induced hypertension and




           "EPA,Consent Agreement and Final Order,In re E.I. DuPont de Nemours & Co., TSCA Docket TSCA-HQ-2004-0016
           (Dec. 14, 2005), available at https://www.epa.govisites/default/files/documents/dupontpfoasettlement121405.pdf (last
            accessed May 8, 2023).

             12


            13 Under the settlement,"probable link," means that given the available scientific evidence, it is more likely than not that
            among class members a connection exists between PFOA/C8 exposure and a particular human disease. See C8 Panel,
            C8 Probable Link Reports, available at http://www.c8sciencepanel.org/prob link.html (last accessed May 8, 2023).
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 17 of 27
Superior Court - Ph/mouth •
Docket Number




                    71.     preeclampsia.I4 By October 2012, the C8 Science Panel had notified Old DuPont

            of a probable link between PFOA and five other conditions—high cholesterol, kidney cancer,

             thyroid disease, testicular cancer, and ulcerative colitis.

                    72.     In July 2015, Old DuPont spun off its chemicals division by creating Chemours as a

             new publicly-traded company, once wholly owned by Old DuPont. By mid-2015, Old DuPont had

             dumped its perfluourinated chemical liabilities into the lap of the new Chemours.

                    73.     Defendants knew, or reasonably should have known, at all times relevant to this

            action that it was substantially certain that their acts and omissions as set forth herein would

            threaten public health, cause extensive contamination of Plaintiff's Property and otherwise cause

            the injuries described herein.

                    74.     Notwithstanding their respective knowledge of the dangers involved with AFFF

            containing PFOA and/or PFOS,Defendants negligently and carelessly:(1) designed, manufactured,

             marketed, and/or sold AFFF containing PFOA and/or PFOS;(2) issued instructions on how AFFF

            should be used and disposed of(namely, by washing the foam into the soil and/or waste water

             disposal systems), thus improperly permitting PFOA and/or PFOS to contaminate soil and

             groundwater;(3)failed to recall and/or warn users of AFFF, negligently designed products

            containing or degrading into PFOA and/or PFOS, of the dangers of soil and groundwater

            contamination as a result of the standard use and disposal of these products; and,(4)further failed

            and refused to issue the appropriate warnings and/or recalls to the users of AFFF containing PFOA

            and/or PFOS, notwithstanding the fact that Defendants knew the identity of the purchasers of the

             AFFF containing PFOA and/or PFOS.




            "See C8 Science Panel, Status Report: PFOA (C8)exposure and pregnancy outcome among participants in the C8
            Health Project (July 15, 2011), available at
            http://www.c8sciencepanel.org/pdfs/Status Report_C8 and_pregnancy outcome 15Julv2011.pdf (last accessed May
            8,2023).
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 18 of 27
Superior Court - PYmouth •
Docket Number




                    75.     As a direct result of Defendants' acts alleged in this Complaint, Plaintiff's property

             has been contaminated, and will continue to be contaminated, with PFOA and PFOS. This has

             created a significant environmental and public health hazard until such contamination may be

             remediated. As a direct and proximate result, Plaintiff must assess, evaluate, investigate, monitor,

             remove, clean up, correct, and remediate PFOA and PFOS contamination of its property at

             significant expense, loss and damage to Plaintiff.

                    76.     Defendants had a duty to evaluate and test such products adequately and thoroughly

             to determine their environmental fate and transport characteristics and potential human health and

             environmental impacts before they sold such products, but they breached this duty. Defendants

             moreover breached their duty to minimize the environmental harm caused by PFOA and PFOS.

             Moreover, Defendants failed to warn Plaintiff of the known risks for environmental and health

             hazards arising from the usage of Defendants' Fluorosurfactant Products in their intended manner

            for its intended purpose.


            D.      THE HARM TO PLAINTIFF RESULTING FROM PFOA AND PFOS CONTAMINATION

                    77.     On at least one occasion, PFAS have been detected in Plaintiff's Property at levels

             above EPA's Health Advisory Levels and/or the Massachusetts Maximum Contaminant Level for

            PFAS6.I5

                    78.     The detection and/or presence ofPFOA and PFOS, and the threat of further

             detection and/or presence ofPFOA and PFOS, in Plaintiff's Property in varying amounts and at

             varying times has resulted, and will continue to result, in significant injury and damage to Plaintiff.




            15 Massachusetts Department of Environmental Protection, Massachusetts PFAS Drinking Water Standard(MCL),
            available at
            for-public-drinking-water-supplies- (last accessed November 10, 2023).
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 19 of 27
Superior Court - Plymouth •
Docket Number




             It is the contention of Plaintiff that any detectible level of PFOA and/or PFOS on Plaintiff's

            Property requires investigation, remediation, and monitoring.

                    79.     Plaintiff has conducted and continues to conduct sampling, studies, and

             investigations related to PFAS, which requires funding by Plaintiff, including costs to conduct

             sampling, costs for its personnel to supervise the assessments, costs to develop PFAS treatment

             approaches, and costs to analyze available alternatives.

                    80.     The invasion of Plaintiff's Property with PFOA and PFOS is continuous and

             recurring, as new contamination flows regularly and constantly into Plaintiff's Property each day—

            the result of which is a new harm to the Plaintiff and its property in each occurrence.

                    81.     The injuries to Plaintiff caused by Defendants' conduct constitute an unreasonable

             interference with, and damage to, Plaintiff's supplies offresh drinking water. Plaintiff's interests

             in protecting the quality of its water supplies constitutes a reason for seeking damages sufficient to

             restore such drinking water supplies to their pre-contamination condition.     .

                    82.     Through this action, Plaintiff seeks to recover damages (including but not limited to

             compensatory, punitive, and/or consequential damages) arising from continuous and ongoing

             contamination of Plaintiff's Property by Defendants' Fluorosurfactant Products. Such damages

             include, but are not limited to, the past and future incurred costs associated with the investigation,

             remediation, restoration, monitoring, and treatment of Plaintiff's Property as well as the costs

             incurred to acquire an alternative water supply.


                                                 FIRST CAUSE OF ACTION
                                         BREACH OF IMPLIED WARRANTY OF
                                        MERCHANTABILITY DEFECTIVE DESIGN

                    83.     Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

             paragraphs as if fully restated in this cause of action.
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 20 of 27
Superior Court - Plimouth '
Docket Number




                    84.     Defendants were in the business of producing, making, fabricating, constructing,

            designing, marketing, and selling AFFF containing PFOA and/or PFOS.

                    85.     All of Defendants' AFFF products were manufactured for placement into trade or

            commerce.

                    86.     Defendants marketed and sold AFFF for use in controlling and extinguishing

            aviation, marine, fuel and other shallow spill fires.

                    87.     As manufacturers, Defendants owed a duty to all persons whom its products might

            foreseeably harm, including Plaintiff, not to market any product which is unreasonably dangerous

             in design for its reasonably anticipated use.

                    88.     By manufacturing and selling PFAS-containing AFFF, Defendants warranted that

            such AFFF was merchantable, safe, and fit for ordinary purposes.

                    89.     Defendants breached that warranty as PFAS-containing AFFF is unreasonably

            dangerous for its reasonably anticipated uses for the following reasons:

                               a. PFOA and PFOS cause extensive groundwater contamination, even when

                                   used in their foreseeable and intended manner;

                               b. Even at extremely low levels, PFOA and/or PFOS render drinking water unfit

                                   for consumption;

                               c. PFOA and/or PFOS pose significant threats to public health; and,

                               d. PFOA and/or PFOS create real and potential environmental damage.

                    90.     Defendants knew of these risks associated with PFOA and PFOS,and failed to use

             reasonable care in the design of its AFFF products.

                    91.     AFFF containing PFOA and/or PFOS poses greater danger to the environment than

             would be expected by ordinary persons such as the Plaintiff and the general public.
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 21 of 27
Superior Court - Plymouth '
Docket Number




                      92.   At all times, Defendants could make AFFF that did not contain PFOA/PFOS.

             Reasonable alternative designs existed which could prevent the Plaintiff's damage.

                      93.   The risks posed by PFAS-containing AFFF far outweigh the products' utility as a

            flame-control chemical.

                      94.   The likelihood that PFOA and/or PFOS-containing AFFF would be spilled,

             discharged, disposed of, or released onto land and contaminate the Plaintiff's property and the

             gravity of that damage far outweighed any burden on Defendants to adopt an alternative design,

             and outweighed the adverse effect, if any, of such alternative design on the utility of the product.

                      95.   Upon information and belief, users and consumers of Fluorosurfactant Products

             relied on Defendants' implied warranty that their AFFF products were safe for use in outdoor fire

             emergency scenarios and fire control exercise.

                      96.   As a direct and proximate result of Defendants' unreasonably dangerous design,

             manufacture, and sale of PFAS-containing AFFF,the Plaintiff has suffered, and continues to suffer,

             property damage requiring investigation, remediation, and monitoring costs to be determined at

             trial.

                      97.   Defendants knew that it was substantially certain that its acts and omissions

             described above would threaten public health and cause extensive contamination of

             property, including groundwater collected for drinking. Defendants committed each of the

             above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or

             malice, and with conscious and/or reckless disregard for the health and safety of others, and

            for the Plaintiff's property rights.
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 22 of 27
Superior Court - Plimouth '
Docket Number




                                               SECOND OF ACTION
                                         BREACH OF IMPLIED WARRANTY OF
                                        MERCHANTABILITY FAILURE TO WARN

                    98.     Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

             paragraphs as if fully restated in this count.

                    99.     As a manufacturer of PFAS-containing AFFF,each Defendant had a duty to provide

             adequate warnings of the risks of these products to all persons whom its product might foreseeably

             harm, including Plaintiff, the public, and public officials.

                     100.   PFAS-containing AFFF is unreasonably dangerous for its reasonably anticipated

             uses for the following reasons:

                               a. PFOA and PFOS cause extensive groundwater contamination, even when

                                   used in their foreseeable and intended manner;

                               b. Even at extremely low levels, PFOA and/or PFOS render drinking water unfit

                                   for consumption;

                               c. PFOA and/or PFOS pose significant threats to public health; and

                               d. PFOA and/or PFOS create real and potential environmental damage.

                     101.   Defendants knew of the health and property damage risks associated with

            PFOA/PFOS- containing AFFF and failed to provide a warning that would lead an ordinary

             reasonable user or handler of a product to contemplate the dangers associated with PFOA/PFOS-

             containing AFFF or an instruction that would have allowed Plaintiff to avoid the damage to its

             property.

                     102.   Despite Defendants' knowledge of the environmental and human health hazards

             associated with the use and/or disposal of PFAS-containing AFFF in the vicinity of subterranean

             drinking water supplies, including contamination of public drinking water supplies with PFOA
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                        Document 1-1 Filed 05/20/24 Page 23 of 27
Superior Court - PlYmouth '
Docket Number




             and/or PFOS, Defendants failed to issue any warnings, instructions, recalls, or advice regarding

            PFAS-containing AFFF to Plaintiff, governmental agencies, or the public.

                    103.    Plaintiff would have heeded legally adequate warnings or would have taken steps to

             prevent potential exposure and contamination of its Property.

                    104.    As a direct and proximate result of Defendants' failure to warn, Plaintiff has

            suffered, and continues to suffer, property damage requiring investigation, remediation, and

             monitoring costs to be determined at trial.

                    105.    Defendants knew that it was substantially certain that its acts and omissions

            described above would threaten public health and cause extensive contamination of subterranean

            drinking water supplies. Defendants committed each of the above-described acts and omissions

            knowingly, willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless

            disregard for the health and safety of others, and for the Plaintiff's property rights.


                                               THIRD CAUSE OF ACTION
                                                        NEGLIGENCE

                    106.    Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

            paragraphs as if fully restated in this count.

                    107.    As a manufacturer and seller of PFAS-containing AFFF,each Defendant owed a

            duty to Plaintiff and to all persons whom its products might foreseeably harm to exercise due care

            in the formulation, manufacture, sale, labeling, warning, and use of PFAS-containing AFFF.

                    108.    Defendants knew or should have known that PFOA and/or PFOS were leaching

            from AFFF used in outdoor fire control exercises and fire emergency scenarios and contaminating

            water resources.

                    109.    Even though Defendants knew that PFOA and PFOS are toxic, can contaminate

            water resources and are possible carcinogens, Defendants negligently:
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 24 of 27
Superior Court - Plymouth •
Docket Number




                                a. Designed, manufactured, formulated, handled, labeled, instructed, controlled,

                                    marketed, promoted, and/or sold PFAS-containing AFFF;

                                b. Issued instructions on how AFFF should be used and disposed of, thus

                                    improperly permitting PFOA and/or PFOS to contaminate the groundwater in

                                    and around the Plaintiff's Property;

                                c. Failed to recall and/or warn the users of AFFF of the dangers ofgroundwater

                                   contamination as a result of standard use and disposal of this product; and,

                                d. Failed and refused to issue the appropriate warning and/or recalls to the users

                                   of PFAS-containing AFFF, notwithstanding the fact that Defendants know the

                                    identity of the purchasers of the AFFF.

                     1 10.   As a direct and proximate result of Defendants' negligence, the Plaintiff has

             suffered, and continues to suffer, property damage requiring investigation, remediation, and

             monitoring costs to be determined at trial.

                     1 11.   Defendants knew that it was substantially certain that its acts and omissions

             described above would threaten public health and cause extensive contamination of subterranean

             drinking water supplies. Defendants committed each of the above-described acts and omissions

             knowingly, willfully, and/or with fraud, oppression, or malice, and with conscious and/or reckless

             disregard for the health and safety of others, and for the Plaintiff's property rights.


                                                 FOURTH CAUSE OF ACTION
                                                              TRESPASS

                     1 12.   Plaintiff realleges and reaffirms each and every allegation set forth in all preceding

             paragraphs as if fully restated in this count.

                     1 13.   Plaintiff is the owner, operator and actual possessor of real property and

             improvements used for collecting drinking water.
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                         Document 1-1 Filed 05/20/24 Page 25 of 27
Superior Court - Plymouth '
Docket Number




                    114.      Defendants manufactured, distributed, marketed, and promoted PFAS-containing

             AFFF with the actual knowledge and/or substantial certainty that PFAS-containing AFFF would,

             through normal use, release PFOA and/or PFOS that would migrate into subterranean groundwater,

            causing contamination.

                    1 15.     Defendants negligently, recklessly, and/or intentionally produced and marketed

            PFAS-containing AFFF in a manner that caused PFOA and PFOS to contaminate Plaintiff's

             property.

                    1 16.     As a direct and proximate result of Defendants' trespass, Plaintiff has suffered and

            continues to suffer property damage requiring investigation, remediation, and monitoring costs to

             be determined at trial.

                    1 17.     Defendants knew that it was substantially certain that its acts and omissions

             described above would threaten public health and cause extensive contamination of property,

             including groundwater collected for drinking. Defendants committed each of the above-described

             acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

            conscious and/or reckless disregard for the health and safety of others, and for the Plaintiff's

             property rights.


                                                    PRAYER FOR RELIEF

                    Plaintiff prays for judgment against Defendants,jointly and severally, as follows:

                    1.      Compensatory damages according to proof including, but not limited to:

                            a. Costs and expenses related to the past, present, and future investigation, sampling,

                                testing, and assessment of the extent of PFOA/PFOS contamination in Plaintiff's

                                Property;

                            b. Costs and expenses related to past, present, and future treatment and remediation of

                                PFOA and/or PFOS contamination of Plaintiff's Property;
                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                       Document 1-1 Filed 05/20/24 Page 26 of 27
Superior Court - Plymouth
Docket Number




                         c. Costs and expenses related to past, present, and future installation and maintenance

                            of monitoring mechanisms to assess and evaluate PFOA and/or PFOS in Plaintiff's

                            Property;

                         d. Costs and expenses related to the past, present, and future installation,

                            maintenance, and purchase of alternative water supplies.

                    2.   Punitive damages;

                    3.   Consequential damages;

                    4.   Pre-judgment and post-judgment interest;

                    5.   Any other and further relief as the Court deems just, proper, and equitable.


                                              DEMAND FOR.JURY TRIAIt

            Plaintiff respectfully demands a jury trial pursuant to Massachusetts Rule of Civil Procedure 38.


            Dated: March 29, 2024

                                                                  Respectfully submitted,


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                          Case 1:24-cv-11323-LTS
Date Filed 3/29/2024 1:38 PM                       Document 1-1 Filed 05/20/24 Page 27 of 27
Superior Court - Plymouth '
Docket Number




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